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             UNITED STATES BANKRUPTCY COURT
              NORTHERN DISTRICT OF FLORIDA
                   TALLAHASSEE DIVISION


IN RE:                                CASE NO 18-40390-KKS
                                      Chapter: 7
BRIAN WALTER RANALLO,

         DEBTOR(S).
_____________________________/

   NOTICE OF INTENT TO SELL PROPERTY OF THE ESTATE

TO: Debtor(s), Creditors, and Parties in Interest

                    NOTICE OF OPPORTUNITY TO
                 OBJECT AND REQUEST FOR HEARING

       Pursuant to Local Rule 2002-2, the Court will consider the relief
requested in this paper without further notice or hearing unless a party in
interest files a response within twenty-one (21) days from the date set forth
on the proof of service plus an additional three days for service if any party
was served by U.S. Mail, or such other period as may be specified in Fed. R.
Bankr.P. 9006(f).
       If you object to the relief requested in this paper, you must file an
objection or response electronically with the Clerk of the Court or by mail at
110 E. Park Avenue, Suite 100, Tallahassee, FL 32301, and serve a copy
on the Trustee, Mary W. Colón, Trustee, P. O. Box 14596, Tallahassee, FL
32317, and any other appropriate person within the time allowed. If you file
and serve a response within the time permitted, the Court will either
schedule and notify you of a hearing or consider the response and grant or
deny the relief requested without a hearing.
       If you do not file a response within the time permitted, the Court will
consider that you do not oppose the relief request in the paper, will proceed
to consider the paper without further notice or hearing, and may grant the
relief requested.

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NOTICE IS HEREBY GIVEN that the trustee/debtor-in-possession
intends to sell the following property of the estate of the debtor(s),
under the terms and conditions set forth below.

1.    Description of property:

      Real Property located at 441 High Point Ln, Tallahassee, FL
      32301, described as:

 THE NORTH PART OF LOT 5 BLOCK “C” RICHVIEW PARK
 (UNRECORDED)

 COMMENCE AT THE SOUTHEAST CORNER OF SECTION 33,
 TOWNSHIP 1 NORTH, RANGE 1 EAST, LEON COUNTY, FLORIDA,
 AND RUN NORTH 89 DEGREES 53 MINUTES 32 SECONDS WEST
 799.27 FEET, THENCE RUN NORTH 00 DEGREES 26 MINUTES 26
 SECONDS EAST 307.40 FEET, THENCE SOUTH 89 DEGREES 07
 MINUTES 31 SECONDS WEST 120.73 FEET, THENCE NORTH 00
 DEGREES 19 MINUTES 51 SECONDS EAST 25.01 FEET, THENCE
 SOUTH 89 DEGREES 07 MINUTES 31 SECONDS WEST 325.05 FEET,
 THENCE NORTH 00 DEGREES 19 MINUTES 51 SECONDS EAST
 114.06 FEET TO THE SOUTHERLY BOUNDARY OF A PROPOSED 36
 FOOT WIDE ROADWAY TO BE KNOWN AS RICHVIEW PARK
 CIRCLE SOUTH; THENCE CONTINUE NORTH 00 DEGREES 19
 MINUTES 51 SECONDS EAST 18.00 FEET TO THE CENTERLINE OF
 SAID PROPOSED ROADWAY; THENCE SOUTH 89 DEGREES 40
 MINUTES 09 SECONDS EAST ALONG SAID CENTERLINE 144.69
 FEET; THENCE NORTH 00 DEGREES 19 MINUTES 51 SECONDS
 EAST 18.00 FEET TO THE NORTHERLY BOUNDARY OF SAID
 PROPOSED 36 FOOT ROADWAY; THENCE LEAVING SAID
 BOUNDARY CONTINUE NORTH 00 DEGREES 19 MINUTES 51
 SECONDS EAST 293.15 FEET TO THE POINT OF BEGINNING; FROM
 SAID POINT OF BEGINNING RUN SOUTH 89 DEGREES 48 MINUTES
 45 SECONDS WEST ALONG A COMMON WALL AND THE
 PROJECTIONS THEREOF 120.00 FEET TO THE EASTERLY
 BOUNDARY OF A PROPOSED 36 FOOT WIDE ROADWAY TO BE
 KNOWN AS HIGH POINT LANE, THENCE NORTH 00 DEGREES 19
 MINUTES 51 SECONDS EAST ALONG SAID BOUNDARY 32.93
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 FEET, THENCE LEAVING SAID BOUNDARY RUN SOUTH 89
 DEGREES 40 MINUTES 09 SECONDS EAST 120.00 FEET; THENCE
 SOUTH 00 DEGREES 19 MINUTES 51 SECONDS WEST 31.85 FEET
 TO THE POINT OF BEGINNING.


2.     Manner of Sale: Private ( X )*         Public Auction ( )


3.     Terms of Sale: (include purchaser, if known, price, price terms,
       whether or not sale is free and clear of liens, names and
       addresses of lienors, and all other pertinent information)

     a. Private sale to: Luciana Ximena Hornung, Camila Yrina
        Hornung, Maria Jesus Mendiola Chavez de Hornung, and
        Franklin Douglas Hornung Ferruzo

     b. Free and Clear of Liens, encumbrances and Interests. Mr.
        Cooper holds a first mortgage and note on said real property.
        Regions Bank holds a second mortgage and note on said real
        property. Based on short sale approval letters from both
        lenders, the lenders have consented to the payoffs identified in
        the short sale letters.

     c. Selling price and terms as follows: $101,000.00 as is in its
        current condition with full right of inspection. Buyer is
        responsible for all inspection fees. Seller does not warrant
        condition.

     d. Additional Terms: Closing will take place within thirty (30) days
        of issuance of a Court Order authorizing the sale. Seller has
        agreed to pay real estate commission, documentary stamp
        taxes on the deed, recording fees for bankruptcy documents,
        estoppel request and dues to association. No seller’s property
        disclosure will be provided. Purchaser shall receive a Trustee’s
        Deed.


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     Purchaser has made a deposit of $950.00 with the balance to
     be paid at closing.

   e. The proceeds from the sale shall be disbursed in the following
      manner:

   Payoff to Mr. Cooper (first                                 $82,534.55
   mortgage)
   Payoff to Regions Bank (second                               $3,000.00
   mortgage)
   Brokerage fees (6% of sales                                  $6,060.00
   price)
   Documentary Stamps                                                $707.00
   Estoppel requests and dues to                                     $200.00
   Association
   Recording Fees not to exceed                                      $100.00
   Pro-rated taxes 1/1/19 to                                         $915.95
   7/29/19 (Estimated)__

         Estate Fee to be received: $7,500.00


4. Lienors and additional co-owners:

   Mr. Cooper holds a first mortgage against said real property.
   Based on a short sale letter, Mr. Cooper has agreed to accept
   $82,534.55. Based on Debtors’ schedules, Regions Bank is the
   second mortgage holder and based on the short sale letter has
   agreed to accept $3,000.00. Time is of the essence for Buyer, so
   the Trustee previously filed a Motion to Sell Free and Clear of All
   Liens pursuant to Section 363 of the Bankruptcy Code (Doc. 38).

The purchase price was/were established by review of the schedules,
any additional documents and testimony provided by parties,
negotiated in good faith within the principles of good business
judgment with the relevant parties by and through a real estate agent,
who marketed and produced the contract before the estate.

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*(Applicable to private sales only) The trustee will entertain any
higher bids for the purchase of the assets of the debtor(s) which the
trustee proposes to sell. Such bids must be in excess of 10% more
than the original bid and must be in writing and accompanied by a
deposit of 20% of the proposed higher purchase price. Any higher
bid must be received (with the applicable deposit) by the trustee at
the address listed below no later than the close of business 15 days
from the date of this Notice.

IF NO HIGHER BIDS ARE RECEIVED TIMELY, THE SALE WILL
PROCEED AS SET FORTH IN THIS NOTICE. IF HIGHER BID(S)
ARE RECEIVED TIMELY, THE TRUSTEE SHALL CONDUCT A
TELEPHONIC OR IN-COURT AUCTION BETWEEN THE BIDDERS
WHOSE BIDS ARE NOTICED ABOVE AND ARE RECEIVED
TIMELY IN ACCORDANCE WITH THIS NOTICE. ANY BIDDER
THAT DOES NOT PARTICIPATE IN ANY AUCTION SCHEDULE IN
ACCORDANCE WITH THIS NOTICE IS DISQUALIFIED.

      NOTICE IS HEREBY GIVEN that all objections to the same
must state the basis for the objection. If no objection is filed, the sale
described above will take place.


DATED: July 25, 2019                   /S/ Mary W. Colón
                                       MARY W. COLÓN
                                       Chapter 7 Trustee
                                        P. O. Box 14596
                                       Tallahassee, FL 32317
                                       Telephone No.: (850) 241-0144
                                       Facsimile: (850) 702-0735
                                       Florida Bar No. 0184012
                                       trustee@marycolon.com




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                                   UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF FLORIDA
                                         TALLAHASSEE DIVISION
IN RE: RANALLO, BRIAN WALTER                                    CASE NO: 18-40390-KKS
                                                                DECLARATION OF MAILING
                                                                CERTIFICATE OF SERVICE
                                                                Chapter: 7




On 7/25/2019, I did cause a copy of the following documents, described below,
NOTICE OF INTENT TO SELL PROPERTY OF THE ESTATE




to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and
incorporated as if fully set forth herein.
I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.com,
an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to Fed.R.
Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if fully set forth
herein.
Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been served
electronically with the documents described herein per the ECF/PACER system.
DATED: 7/25/2019
                                                          /s/ Mary W. Colon, Chapter 7 Trustee
                                                          Mary W. Colon, Chapter 7 Trustee

                                                          P O Box 14596
                                                          Tallahassee, FL 32317
                                                          850 241 0144
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                                        UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF FLORIDA
                                              TALLAHASSEE DIVISION
 IN RE: RANALLO, BRIAN WALTER                                           CASE NO: 18-40390-KKS

                                                                        CERTIFICATE OF SERVICE
                                                                        DECLARATION OF MAILING
                                                                        Chapter: 7




On 7/25/2019, a copy of the following documents, described below,

NOTICE OF INTENT TO SELL PROPERTY OF THE ESTATE




were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient postage thereon
to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and incorporated as if fully set forth herein.

The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above referenced document
(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of Service and that it is true and correct to
the best of my knowledge, information, and belief.

DATED: 7/25/2019




                                                                            Jay S. Jump
                                                                            BK Attorney Services, LLC
                                                                            d/b/a certificateofservice.com, for
                                                                            Mary W. Colon, Chapter 7 Trustee

                                                                            P O Box 14596
                                                                            Tallahassee, FL 32317
                          Case WERE
PARTIES DESIGNATED AS "EXCLUDE" 18-40390-KKS
                                     NOT SERVED VIA Doc
                                                    USPS 45
                                                         FIRST Filed
                                                                CLASS 07/25/19
                                                                       MAIL      Page 8 of 9
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

CASE INFO                                BK GLOBAL REAL ESTATE SERVICES           FLORIDA STATE UNIVERSITY CREDIT UNION
1LABEL MATRIX FOR LOCAL NOTICING         1095 BROKEN SOUND PARKWAY SUITE 200      CO J BLAIR BOYD
11294                                    BOCA RATON FL 33487-3503                 POST OFFICE BOX 3637
CASE 18-40390-KKS                                                                 TALLAHASSEE FL 32315-3637
NORTHERN DISTRICT OF FLORIDA
TALLAHASSEE
THU JUL 25 13-54-37 EDT 2019



KELLER WILLIAMS TOWN AND COUNTRY         NATIONSTAR MORTGAGE LLC DBA MR COOPER    NATIONSTAR MORTGAGE LLC DBA MR COOPER
REALTY INC                               ROBERTSON ANSCHUTZ AND SCHNEID PL        CO ROBERTSON ANSCHUTZ AND SCHNEID
ATTN SARAH GRANGER HENNING AGENT         6409 CONGRESS AVENUE SUITE 100           6409 CONGRESS AVENUE
1520 KILLEARN CENTER BOULEVARD           BOCA RATON FL 33487-2853                 SUITE 100
SUITE 100                                                                         BOCA RATON FL 33487-2853
TALLAHASSEE FL 32309-3700




PRA RECEIVABLES MANAGEMENT LLC           SMITH THOMPSON SHAW MINACCI AND COLON    AMERICAN EXPRESS
PO BOX 41021                             PA                                       ATTN BANKRUPTCY LITIGATION OFFICER
NORFOLK VA 23541-1021                    3520 THOMASVILLE ROAD                    PO BOX 981535
                                         FOURTH FLOOR                             EL PASO TX 79998-1535
                                         TALLAHASSEE FL 32309-3478




AMERICAN EXPRESS NATIONAL BANK           ATTORNEY GENERAL OF THE UNITED STATES    CAPITAL CITY BANK
CO BECKET AND LEE LLP                    950 PENNSYLVANIA AVE NW                  ATTN BANKRUPTCY LITIGATION OFFICER
PO BOX 3001                              WASHINGTON DC 20530-0009                 PO BOX 900
MALVERN PA 19355-0701                                                             TALLAHASSEE FL 32302-0900




CAPITAL ONE                              CAPITAL ONE BANK USA NA                  CHASEJP MORGAN CHASE
ATTN BANKRUPTCY LITIGATION OFFICER       PO BOX 71083                             ATTN BANKRUPTCY LITIGATION OFFICER
PO BOX 30285                             CHARLOTTE NC 28272-1083                  PO BOX 15298
SALT LAKE CITY UT 84130-0285                                                      WILMINGTON DE 19850-5298




CITIBANK NA                              CITIBANK NA                              CITIBANK NA
ATTN BANKRUPTCY LITIGATION OFFICER       ATTN BANKRUPTCY LITIGATION OFFICER       ATTN BANKRUPTCY LITIGATION OFFICER
701 E 60TH STREET NORTH                  PO BOX 6062                              PO BOX 6500
MAIL CODE 1251                           SIOUX FALLS SD 57117-6062                SIOUX FALLS SD 57117-6500
SIOUX FALLS SD 57104-0432




CITIBANK NA                              DORIS MALOY LEON COUNTY TAX COLLECTOR    FSU CREDIT UNION
ATTN BANKRUPTCY LITIGATION OFFICER       ATTN TAX ADMINISTRATION DEPARTMENT       ATTN BANKRUPTCY LITIGATION OFFICER
PO BOX 790046                            POST OFFICE BOX 1835                     2806 SHARER RD
SAINT LOUIS MO 63179-0046                TALLAHASSEE FL 32302-1835                TALLAHASSEE FL 32312-2100




FIRST COMMERCE CREDIT UNION              FREEDOM MORTGAGE                         GREAT LAKES
ATTN BANKRUPTCY LITIGATION OFFICER       ATTN BANKRUPTCY DEPARTMENT               ATTN BANKRUPTCY LITIGATION OFFICER
PO BOX 6416                              PO BOX 619063                            PO BOX 7860
TALLAHASSEE FL 32314-6416                DALLAS TX 75261-9063                     MADISON WI 53707-7860




INTERNAL REVENUE SERVICE                 MR COOPER                                PYOD LLC
CENTRALIZED INSOLVENCY OPERATIONS        ATTN BANKRUPTCY DEPARTMENT               RESURGENT CAPITAL SERVICES
PO BOX 7346                              8950 CYPRESS WATERS BLVD                 PO BOX 19008
PHILADELPHIA PA 19101-7346               COPPELL TX 75019-4620                    GREENVILLE SC 29602-9008
                          Case WERE
PARTIES DESIGNATED AS "EXCLUDE" 18-40390-KKS
                                     NOT SERVED VIA Doc
                                                    USPS 45
                                                         FIRST Filed
                                                                CLASS 07/25/19
                                                                       MAIL      Page 9 of 9
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

REGIONS BANK                             SYNCHRONY BANK                           SYNCHRONY BANK
ATTN BANKRUPTCY LITIGATION OFFICER       ATTN BANKRUPTCY DEPARTMENT               CO PRA RECEIVABLES MANAGEMENT LLC
PO BANK 1984                             PO BOX 965061                            PO BOX 41021
BIRMINGHAM AL 35201-1984                 ORLANDO FL 32896-5061                    NORFOLK VA 23541-1021




US BANK NA DBA ELAN FINANCIAL SERVICES   UNITED STATES DEPARTMENT OF EDUCATION    UNITED STATES ATTORNEY
BANKRUPTCY DEPARTMENT                    CLAIMS FILING UNIT                       21 EAST GARDEN STREET
PO BOX 108                               PO BOX 8973                              PENSACOLA FL 32502-5676
ST LOUIS MO 63166-0108                   MADISON WI 53708-8973




UNITED STATES TRUSTEE                    WELLS FARGO BANK NA                      WELLS FARGO BANK NA WELLS FARGO CARD
110 E PARK AVENUE                        WELLS FARGO HOME MORTGAGE                SER
SUITE 128                                ATTN- BANKRUPTCY LITIGATION OFFICER      PO BOX 10438 MAC F823502F
TALLAHASSEE FL 32301-7728                PO BOX 10335                             DES MOINES IA 50306-0438
                                         DES MOINES IA 50306-0335




                                         DEBTOR
ALLEN TURNAGE                                                                     MARY CYNTHIA RANALLO
ALLEN TURNAGE PA                         BRIAN WALTER RANALLO                     3513 KILKENNY DRIVE EAST
PO BOX 15219                             3513 KILKENNY DRIVE EAST                 TALLAHASSEE FL 32309-3110
2344 CENTERVILLE ROAD SUITE 101          TALLAHASSEE FL 32309-3110
TALLAHASSEE FL 32308-4389




MARY W COLON
PO BOX 14596
TALLAHASSEE FL 32317-4596
